         Case 2:14-cv-07375-MAK Document 26 Filed 12/14/15 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

VANESSA JONES, on behalf of herself and                 )
others similarly situated,                              )
                                                        )
               Plaintiff,                               )
                                                        ) Civil Action No.: 2:14-cv-07375-MAK
v.                                                      )
                                                        )
COMCAST CORPORATION,                                    )
                                                        )
            Defendant.                                  )
______________________________________                  )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Vanessa Jones (“Plaintiff”) and Defendant Comcast Corporation, through undersigned

counsel, and pursuant to Rule 41(a)(1)(A)(ii), hereby file their Stipulation of Voluntary Dismissal of

this case with prejudice as to Plaintiff, and with each side to bear its own fees and costs.


Dated: December 14, 2015

/s/ James L. Davidson                                 /s/ Seamus C. Duffy
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         Case 2:14-cv-07375-MAK Document 26 Filed 12/14/15 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed using the Court’s CM/ECF system on

December 14, 2015 which will provide notice to Defendant’s counsel of record:

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Counsel for Defendant Comcast Corporation

                                                         /s/ James L. Davidson
                                                         James L. Davidson




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